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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division

SONY MUSIC ENTERTAINMENT,et al.
                                                                                       CLERK, U.S. DISTRICT COURT
                       Plaintiffs,                                                       ALEXAMDflfA. VIRRIMia


       V.                                         Civil Action No. 1:18cv0950(LO/JFA)

COX COMMUNICATIONS,INC., et al..

                       Defendants.



                                             ORDER


       On Friday, February 15. 2019, counsel for the parties appeared before the court to present

argument on plaintiffs' motion to compel. (Docket no. 94). Upon consideration of the motion,

memorandum in support(Docket no. 96), opposition (Docket no. 103), and reply (Docket no.

105), and for the reasons stated from the bench, it is hereby

       ORDERED that plaintiffs' motion to compel is granted in part and denied in part. The

issue regarding emails and communications concerning Cox's responses to, handling of, and

attitude towards infringement notices for the period 2010 through 2014 is taken imder

advisement.


       Entered this 15th day of February, 2019.                     /S/
                                                      Jolm F. Anderson
                                                      United Stales Magistrate Judge
                                                     John F. Anderson
                                                      United States Magistrate Judge
Alexandria, Virginia
